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                                                                                                   FILED
                                                                                                 June 16, 2021
                                                                                             CLERK, U.S. DISTRICT COURT
                                                                                             WESTERN DISTRICT OF TEXAS
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS                                     J. Galindo-Beaver
                                                                                         BY: ________________________________
                                                                                                                 DEPUTY
                                     WACO DIVISION


                        AMENDED STANDING ORDER REGARDING
                        NOTICE OF READINESS FOR PATENT CASES

         In all patent cases pending before the undersigned, the Parties are directed to jointly file

the Case Readiness Status Report (“CRSR”) in the format attached as Exhibit A: (a) within seven

(7) days after the defendant (or at least one defendant among a group of related defendants sued

together) has responded to the initial pleadings in cases where there are no CRSR Related Cases

as defined below1, or (b) when there are CRSR Related Cases, within seven (7) days after the last

defendant (or last defendant group when at least one defendant among the group has responded)

among the CRSR Related Cases has responded to the initial pleadings. The CRSR shall be filed

in each case and, with regard to CRSR Related Cases, it shall identify all other CRSR Related

Cases.

         The Parties are directed to meet and confer before jointly filling the CRSR. Plaintiff shall

be responsible for ensuring the prompt filing of the CRSR. Plaintiff shall also email the Court

(TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov) a courtesy copy of the CRSR and

shall also copy the Defendant(s). If the parties have any pre-Markman issues in need of

resolution, the parties are directed to email the Court a joint submission of the parties’ positions

after filing the CRSR so the Court can consider whether to hold a telephonic hearing to resolve

these issues.

         Once the CRSR has been filed, the Case Management Conference (“CMC”) shall be

deemed to occur fourteen (14) days after the filing date of the CRSR. With regard to CRSR


1
 For purposes of this Order, cases shall be considered CRSR Related Cases when: (1) they are filed
within thirty (30) days after the first case is filed, and (2) they share at least one common asserted patent.


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Related Cases, if the CRSRs are not all submitted on the same date, the CMC shall be deemed to

occur fourteen (14) days after the last CRSR in those CRSR Related Cases is filed. The Court

intends to coordinate the CRSR Related Cases on the same schedule with a single Markman

hearing, so the parties should plan accordingly. In all cases, the Markman hearing shall be initially

scheduled for twenty-three (23) weeks after the CMC and should be included in the parties’

proposed Scheduling Order in accordance with the Court’s Order Governing Proceedings.

       This Order shall apply to all cases where the CRSR has not already been filed as of the date

of this Order. In any case where the parties have submitted their CRSR before the date of this

Order but have not received an order setting their CMC, the CMC for that case (or cases) will be

deemed to occur fourteen (14) days after the date of this Order. To the extent that the CRSR in a

case (or related cases) is overdue pursuant to this Order, the parties are directed to file the CRSR

within seven (7) days after the date of this Order. If after entry of this Order there are any cases

awaiting a CMC where the CMC will not be set by operation of this Order, the parties should

contact the Court for guidance.

       If any party believes that the operation of this Order will cause undue prejudice, that party

may contact the Court to seek appropriate relief.

SIGNED this 16th day of June, 2021.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE




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                             Exhibit A




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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


  [Plaintiff],

                  Plaintiff                          Case No. 6:21-cv-00000-ADA


                  v.                                 JURY TRIAL DEMANDED


  [Defendant],

                  Defendant


                              CASE READINESS STATUS REPORT

        Plaintiff [names] and Defendant [name(s)], hereby provide the following status report.

                                  FILING AND EXTENSIONS

        Plaintiff’s Complaint was filed on [filing date]. There have been [one/two] extension[s]

for a total of __ days.

                               RESPONSE TO THE COMPLAINT
 [Indicate if/when the defendant(s) responded to the Complaint, whether it was an Answer or

 Motion, and whether any counterclaims were filed other than counterclaims for non-infringement

 or invalidity]

                                     PENDING MOTIONS

        [Identify all pending motions]
                       RELATED CASES IN THIS JUDICIAL DISTRICT

     [Identify all related cases in this Judicial District, including any other cases where a
common patent is asserted]
                              IPR, CBM, AND OTHER PGR FILINGS
        [There are no known IPR, CBM, or other PGR filings.] [Or]


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       ALT: IPR2021-00000 was filed on ____ and docketed on ____. An institution decision is
expected on or before ___. A Final Written decision is expected on or before _____.]
                    NUMBER OF ASSERTED PATENTS AND CLAIMS
        Plaintiff has asserted [Num Patents] patent[s] and a total of [Num Claims] claims. The
asserted patent(s) are U.S. Patent Nos. ____.
[If a Plaintiff has already served Preliminary Infringement Contentions (“PICs”), note the date of
service. Note: Per the Court’s Order Governing Proceeding, Plaintiff must serve PICs no later
than 7 days before the CMC]
                       APPOINTMENT OF TECHNICAL ADVISER
[Indicate whether the parties request a technical adviser to be appointed to the case to assist the
Court with claim construction or other technical issues]
                               MEET AND CONFER STATUS
         Plaintiff and Defendant met and conferred. [The parties have no pre-Markman issues to
raise at the CMC.] or [The parties identified the following pre-Markman issues to raise at the CMC
[list].


 Dated: ___________                                  Respectfully Submitted

                                                     /s/




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